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                        UNITED STATES DISTRICT COURT
                          DISTRICT OF CONNECTICUT

                                          )
SECURITIES AND EXCHANGE COMMISSION,       )
                                          )
          Plaintiff,                      )
                                          )
v.                                        )   Civil Action No.
                                          )   3:17-cv-00155-VAB
MARK J. VARACCHI and                      )
SENTINEL GROWTH FUND                      )
MANAGEMENT, LLC,                          )
                                          )
          Defendants,                     )
and                                       )
                                          )
RADAR ALTERNATIVE FUND LP and             )
RADAR ALTERNATIVE MASTER FUND SPC,        )
                                          )
          Relief Defendants.              )
                                          )

 SEVENTH INTERIM APPLICATION FOR PROFESSIONAL FEES AND EXPENSES
         INCURRED BY THE RECEIVER AND HIS PROFESSIONALS
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 SEVENTH INTERIM APPLICATION FOR PROFESSIONAL FEES AND EXPENSES
         INCURRED BY THE RECEIVER AND HIS PROFESSIONALS

       Jed Horwitt, Esq. (the “Receiver”), as the Receiver appointed by this Court in the above-

captioned action (the “Receivership Proceeding”) commenced by the Securities and Exchange

Commission (the “SEC” or “Commission”), by and through his undersigned counsel, and Zeisler

& Zeisler, P.C. (“Z&Z”), as counsel for the Receiver, pursuant to this Court’s Order Appointing

Receiver entered May 1, 2017 (ECF No. 12, the “Receivership Order”) and Order Reappointing

Receiver (ECF No. 47, the “Reappointment Order”, and together with the Receivership Order, the

“Receivership Orders”) entered February 14, 2018, respectfully submits this seventh interim

application (the “Application”) for professional fees and expenses incurred on behalf of the

Receivership Estate (as defined in the Receivership Orders) by the Receiver, Z&Z, and the

Receiver’s accountant and financial advisor, Verdolino & Lowey, P.C. (“V&L”) during the period

commencing October 1, 2018, through and including December 31, 2018 (the “Compensation

Period”). In advance of filing, the Receiver shared this Application with counsel for the

Commission, and the Commission’s counsel has stated that the Commission has no objection to

the approval of the professional fees and expenses requested herein.

       In support of this Application, the Receiver, V&L, and Z&Z respectfully represent as

follows:

I.     SUMMARY OF PROFESSIONAL FEES AND EXPENSES REQUESTED

       1.      Jed Horwitt, Esq. serves in his capacity as the Court-appointed Receiver for

Sentinel Growth Fund Management, LLC (“Sentinel”), Radar Alternative Fund LP (“Radar LP”)

and Radar Alternative Master Fund SPC (“Radar SPC” and, together with Radar LP, collectively,

the “Relief Defendants,” and the Relief Defendants together with Sentinel, collectively, the

“Receivership Entities”).


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        2.       This Application has been prepared in accordance with the Billing Instructions for

Receivers in Civil Actions Commenced by the U.S. Securities and Exchange Commission (the

“SEC Guidelines”) and the Receivership Orders.

        3.       Pursuant to the SEC Guidelines, the following exhibits are attached to this

Application:

        a.       The completed Standardized Fund Accounting Report (“SFAR”), in the form
                 prescribed by the SEC Guidelines, and certified by Receiver, is attached hereto as
                 Exhibit A;

        b.       A Certification of Compliance with the SEC Guidelines by the Receiver and Z&Z
                 is attached hereto as Exhibit B;

        c.       A summary of total expenses for which reimbursement is requested for Z&Z is
                 attached hereto as Exhibit C;

        d.       Time records summarizing the work performed by the Receiver and his legal
                 professionals and paraprofessionals for each of their Activity Categories (as
                 hereinafter defined) are attached hereto as Exhibits D-1; D-2, D-3, D-4, D-5; D-7,
                 D-8, D-9, D-10, and D-11. 1

        e.       A Certification of Compliance with the SEC Guidelines by V&L is attached
                 hereto as Exhibit E;

        f.       A summary of total expenses for which reimbursement is requested for V&L is
                 attached hereto as Exhibit F; and

        g.       Time records summarizing the work performed by V&L’s accounting
                 professionals and paraprofessionals for each of its Activity Categories (as
                 hereinafter defined) during the V&L Compensation Period are attached hereto as
                 Exhibits G-1; G-2, G-3, and G-4.

        4.       The Receiver and Z&Z attorneys and paraprofessionals have expended a total of



1
 Because their contents include privileged and confidential material, protected attorney work-product, and
other sensitive information describing, inter alia, the Receiver’s strategy in this Receivership Proceeding,
and pursuant to the Court’s Order entered August 11, 2017 (ECF No. 25), Exs. D-1 through D-11 are filed
under seal. Furthermore, the Receiver and Z&Z have intentionally omitted time records from their Activity
Category Six (Application for Professional Fees and Expenses), because they are not requesting
compensation for services performed under this Activity Category.


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619.9 hours working on this matter during the Compensation Period. The Receiver and Z&Z seek

allowance of compensation of services rendered during the Compensation Period on behalf of the

Receivership Estate in the amount of $168,969.60, and reimbursement of actual and necessary

expenses in the amount of $26,947.88.

       5.      The Receiver’s accountant and financial advisor V&L’s professionals and

paraprofessional have expended a total of 209.4 hours working on this matter during the

Compensation Period. V&L seeks allowance of compensation of services rendered during the

Compensation Period on behalf of the Receivership Estate in the amount of $49,166.00, and

reimbursement of actual and necessary expenses in the amount of $0.00.

       6.      The Receiver, V&L, and Z&Z acknowledge that their fee compensation is subject

to a twenty percent (20%) holdback, pursuant to the SEC Guidelines and the Receivership Orders.

       7.      The fees assessed reflect the hours worked by the Receiver, Z&Z attorneys and

paraprofessionals and V&L professionals and paraprofessionals, and the hourly rates applicable at

the time that they rendered their services, as modified by the significant discounts provided by the

Receiver, Z&Z, and V&L (described below).

       8.      These amounts also take into account all relevant circumstances and factors as set

forth in the Connecticut Rules of Professional Conduct and the SEC Guidelines, including the

nature of the services performed, the amount of time spent, the experience and ability of the

professionals and paraprofessional working on this engagement, the novelty and complexity of the

specific issues involved, the time limitations imposed by the circumstances, and the

responsibilities undertaken by the Receiver under the Receivership Orders.

       9.      Section III below summarizes the Receiver’s administration of the Receivership

Estate since his appointment. A narrative description of the particular services provided by the



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Receiver and Z&Z’s attorneys and paraprofessionals is included in the time records attached as

Ex. D-1 through D-11. A narrative description of the particular services provided by V&L’s

professionals and paraprofessionals is included in the time records attached as Ex. G-1 through G-

4.

       10.     Z&Z’s expense reimbursements requested are principally consist in the following:

(i) PACER charges for accessing electronic documents in the numerous federal litigations relevant

to the Receivership Proceeding; (ii) shipping charges; (iii) expenses associated with the Receiver’s

website; (iv) fees for service of subpoenas and complaints; (v) expert witness consulting fees; (vi)

photocopying; (vii) processing and hosting of electronically stored information related to litigation

relevant to the Receivership Proceeding; and (viii) online legal research. (See Ex. C.)

       11.     V&L did not incur any expenses during the Compensation Period. (See Ex. F.)

       12.     The Receiver, Z&Z, and V&L have not sought reimbursement for secretarial, word

processing, proofreading or document preparation expenses (other than by professionals or

paraprofessionals), data processing and other staff services (exclusive of paraprofessional services)

or clerical overtime. Nor have the Receiver, Z&Z, and V&L requested reimbursement for any

meals during the Compensation Period.

       13.     The Receiver and Z&Z have complied with the SEC Guidelines’ internal

photocopying rates as follows: $0.15 per page for black and white and $1.00 per page for color

copies. V&L has not requested reimbursement for photocopying during the Compensation Period.

       A.      Discounts

       14.     As proposed by the Receiver as part of his application for selection as receiver

submitted to the Commission, and as provided in the Receivership Orders, the Receiver, V&L,

and Z&Z have consented to and implemented substantial public service discounts with respect to

their billing rates for services provided in this Receivership Proceeding.
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       15.      More specifically, and as shown in the fee schedules set forth below, Z&Z and V&L

have consented to 20% public service discounts to its regularly applicable hourly rates for all legal

professionals and paraprofessionals.

       16.      The Receiver originally agreed to discount his generally applicable hourly rate for

services provided when serving primarily in his capacity as Receiver to $250 per hour, reflecting

a 50% discount. Notwithstanding, as an additional discount, despite the fact that many of the

services provided by the Receiver during the Compensation Period were mostly legal in nature,

the Receiver and Z&Z have voluntarily applied the much more deeply discounted $250 hourly pay

rate to all of the Receiver’s time during this period.

       B.       Fee Schedules

       17.      The fee schedule for the Receiver, showing: his name; the hourly rate applied to his

services in this Receivership Proceeding and his customary hourly rate; the discount reflected in

the applied hourly rate; the number of hours of services performed in the Compensation Period;

the amount billed for such services in the Compensation Period; and the amount of the discount to

his services during the Compensation Period; is as follows:


   Receiver            Rate               Rate           Hours           Amount           Amount
                    (Cust. Rate)        Discount                          Billed        Discounted
 Horwitt, Jed       $250 ($500)           $250             9.8          $2,450.00        $2,450.00

       18.      The fee schedule for all Z&Z legal professionals who provided services during the

Compensation Period, showing for each: his or her name; the hourly rate applied to his or her

services in this Receivership Proceeding and his or her customary hourly rate; the discount

reflected in the applied hourly rate; the number of hours of services performed in the Compensation

Period; the amount billed for such services in the Compensation Period; and the amount of the

discount to his or her services during the Compensation Period; is as follows:

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       Legal                Rate           Rate        Hours       Amount           Amount
    Professional         (Cust. Rate)    Discount                   Billed        Discounted
 Cesaroni, John          $240 ($300)       $60            .6       $144.00           $36.00
 Kindseth, Stephen       $340 ($425)       $85           69.6     $23,664.00       $5,916.00
 Moriarty, James         $320 ($400)       $80             1       $320.00           $80.00
 Romney, Aaron           $320 ($400)       $80          170.9     $54,688.00      $13,672.00
 Vaughan, Rion           $240 ($300)       $60          361.3     $86,712.00      $21,678.00

       19.      The fee schedule for the legal paraprofessional who provided services during the

Compensation Period, showing: his or her name; the hourly rate applied to his or her services in

this Receivership Proceeding and his or her customary hourly rate; the discount reflected in the

applied hourly rate; the number of hours of services performed in the Compensation Period; the

amount billed for such services in the Compensation Period; and the amount of the discount to his

or her services during the Compensation Period; is as follows:


      Legal              Rate             Rate          Hours         Amount         Amount
 Paraprofessional     (Cust. Rate)      Discount                       Billed       Discounted
 Joseph, Kristen      $148 ($185)         $37            6.7          $991.60        $247.90

       20.      The fee schedule for all V&L accounting professionals who provided services

during the Compensation Period, showing for each: his or her name; the hourly rate applied to his

or her services in this Receivership Proceeding and his or her customary hourly rate; the discount

reflected in the applied hourly rate; the number of hours of services performed in the Compensation

Period; the amount billed for such services in the Compensation Period; and the amount of the

discount to his or her services during the Compensation Period; is as follows:


 Accounting                Rate            Rate         Hours           Amount        Amount
 Professional           (Cust. Rate)     Discount                        Billed      Discounted
 Bailey, P              $196 ($245)        $49           60.7          $11,897.20     $2,974.30
 Bailey, T              $280 ($350)        $70           43.5          $12,180.00     $3,045.00
 Flaherty               $196 ($245)        $49           20.7           $4,057.20     $1,014.30
 Lowey                  $372 ($465)        $93            5.4           $2,008.80      $502.20


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 Sturgeon               $268 ($335)         $67          24.7          $6,619.60      $1,654.90
 Whitehouse             $228 ($285)         $57          54.4         $12,403.20      $3,100.80

       C.       Activity Categories

       21.      Pursuant to the SEC Guidelines, the Receiver, V&L, and Z&Z have utilized the

following activity categories (each an “Activity Category,” and, collectively, the “Activity

Categories”) under which the following fees have been incurred during the Compensation Period:

                 Activity Categories Utilized by Receiver and Legal Professionals

       a.       Category One: Case Administration, 26.1 hours, $6,905.00 (see Ex. D-1);

       b.       Category Two: Asset Analysis & Recovery, 19.3 hours, $4,636.00 (see Ex. D-2);

       c.       Category Three: Asset Disposition, 0 hours, $0.00 (see Ex. D-3);

       d.       Category Four: Business Operations, 0 hours, $0.00 (see Ex. D-4);

       e.       Category Five: Claims Administration & Objections, 48.8 hours, $12,186.00 (see

Ex. D-5);

       f.       Category Six: Application for Professional Fees and Expenses, the Receiver and

Z&Z are not including time incurred for these services in their Application (see Ex. D-6);

       g.       Category Seven: Litigation – Taran Asset Management, LLC, et al., 54.3 hours,

$14,741.40 (see Ex. D-7); and

       h.       Category Eight: Litigation – A. L. Sarroff Management, LLC, et al., 366.1 hours,

$100,344.60 (see Ex. D-8).

       i.       Category Nine: Litigation – Shay Kostiner, 0 hours, $0.00 (see Ex. D-9).

       j.       Category Ten: Litigation – Weeden Prime Services, LLC, 105.3 hours,

$30,156.60 (see Ex. D-10).

       k.       Category Eleven: Litigation – Rajo Corp., 0 hours, $0.00 (see Ex. D-11).




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                     Activity Categories Utilized by Accounting Professionals

        a.      Category One: Tax Return Preparation, 55.2 hours, $13,474.40 (see Ex. G-1);

        b.      Category Two: Data Analysis, 92.4 hours, $20,262.80 (see Ex. G-2);

        c.      Category Three: Forensic Accounting, 0 hours, $0.00 (see Ex. G-3); and

        d.      Category Four: Expert Report Preparation, 61.8 hours, $15,428.80 (see Ex. G-4).

II.     SUMMARY OF CASH ON HAND

        22.     During the Compensation Period, in accordance with the terms of the Plan

Approval Order (as defined and discussed in greater detail in Section IV-E below), the Receiver

made distributions totaling $2,136,712.30 to the holders of Allowed Claims 2. This amount is

sufficient to bring the total recovery on account of Allowed Claims to at least 19.1% under the

“Rising Tide Method” of distribution.

        23.     Also in accordance with the Plan Approval Order, prior to making the initial

distribution on account of Allowed Claims, the Receiver transferred $801,365.01 from the

Receivership Account (as defined and discussed in Section IV-D below) to a newly established

segregated account (the “Reserve Account”) to “ensure that if a Remaining Disputed Claim is

Allowed, the Receiver shall have funds left to pay such Allowed Claim in the amount provided for

in the Plan of Distribution for such category of Claimant.” See Plan Approval Order § 8(xi). Z&Z

attorneys consulted with V&L to ensure that the Reserve Account was established as a Qualified

Settlement Fund under Section 468B of the Internal Revenue Code, and that the establishment and

funding of the Reserve Account did not disrupt the Receivership Account’s Qualified Settlement

Fund status.


2
 Capitalized terms not otherwise defined shall have the meaning attributed to them in the Motion for Entry
of an Order Approving and Authorizing the Receiver’s Proposed (i) Pooling Assets and Liabilities of
Receivership Entities (ii) Allowance of Certain Claims, (iii) Plan of Distribution, and (iv) Related Relief
(ECF No. 62, the “Motion for Plan Approval”) and the Plan Approval Order (as defined in Section E below).
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        24.      During the Compensation Period, as discussed in greater detail in Section IV-L

below, the Receiver made distributions on account of authorized administrative expenses totaling

$406,129.40 to Z&Z and V&L in accordance with Court’s Order Approving the Receiver’s Fifth

Interim Application for Professional Fees and Expenses (ECF No. 68) and the Court’s Order

Approving the Receiver’s Sixth Interim Application for Professional Fees and Expenses (ECF No.

81).

        25.      The Receiver’s cash on hand is held in the Receivership Account and the Reserve

Account. As of December 31, 2018, the balance of the Receivership Account is $226,278.96, and

the balance of the Reserve Account is 801,365.01. 3 The total cash on hand in the Receivership

Account and the Reserve Account is $1,067,643.97. This combined balance reflects a decrease of

$2,542,841.70 during the Compensation Period. (See Ex. A.)

III.    SUMMARY OF RECEIVER’S ADMINISTRATION OF THE ESTATE

        During the Compensation Period, the Receiver diligently exercised his duties pursuant to

the terms of the Receivership Orders and made significant progress in investigating, marshalling

and liquidating Receivership Assets for distribution to the holders of Allowed Claims against the

Receivership Estate. Items requiring significant work by the Receiver and his professionals, as

discussed in more detail below, were, in summary, coordinating the initial distribution to the

holders of Allowed Claims pursuant to the Plan Approval Order, investigating and analyzing

additional causes of action, and continuing to litigate previously commenced civil actions.

        26.      Utilizing Z&Z as his legal professionals and V&L as his accountants and financial

advisors, the Receiver has undertaken the following on behalf of the Receivership Estate:



3
  As explained more fully in Section V-C below, while the Receiver seeks the allowance of certain fees and expenses
by this Application, he does not intend to pay such authorized fees and expenses until there have been further
recoveries so that sufficient funds have been reserved for certain litigation and ordinary administrative expenses.

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       A.       The Receiver’s Website and Investor Contact

       27.     At all times during the Compensation Period, the Receiver has maintained a website

– http://jedhorwittreceiver.com – that has provided information to the public concerning the

Receivership Proceeding, in addition to the more particular notices provided to parties-in-interest.

       28.     The website states who the Receiver is and describes his role, provides access to

filings in the Receivership Proceeding, and contains contact information such that interested

parties may contact Z&Z attorneys by e-mail or telephone with questions, concerns or information.

       29.     Z&Z’s professionals, on behalf of the Receiver, have fielded and effectively

responded to inquiries from investors in order to ensure that they are educated concerning the

Receivership Proceeding and the claims management procedures discussed herein.

       B.      The Sixth Quarterly Status Report

       30.     The Receiver and Z&Z also prepared and, on October 31, 2018, filed the Sixth

Quarterly Status Report (ECF No. 74). In drafting the Sixth Quarterly Status Report, the Receiver

and Z&Z compiled comprehensive information to update the Court, the Commission and all other

parties-in-interest as to the Receiver’s operations, the Receivership Estate’s assets, the status of

various litigation and Claims against the Receivership Estate.

       C.      Joint Status Report

       31.     On September 21, 2018, prior to the Compensation Period, Judge Bolden

transferred this proceeding to Judge Dooley. 4 (ECF No. 66.)

       32.     On October 17, 2018, this Court entered an order requesting the submission of a

status report including basic information regarding reassigned cases. (ECF No. 72.)

       33.     Z&Z attorneys coordinated with the SEC to prepare this joint status report


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  After the Compensation Period, on January 31, 2019, Judge Dooley entered her Order of Transfer
transferring this proceeding back to Judge Bolden. (ECF No. 85.)
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responding the Court’s order regarding reassigned cases, which was filed on October 30, 2018.

(ECF No. 73.)

          D.     Marshaling of Receivership Assets and Receipt of Assets by Receiver

          34.    Shortly after his appointment, pursuant to the Receivership Order, the Receiver

opened an account at a financial institution experienced in servicing court-appointed receivers (and

like fiduciaries), which account (the “Receivership Account”) holds funds marshaled by the

Receiver and constitutes a Receivership Asset.

          35.    Pursuant to the Court’s orders, the Receiver and Z&Z previously undertook to

assume control and possession over the funds held in certain frozen accounts and to transfer them

to the Receivership Account.

          36.    During the Compensation Period, the Receivership Account accrued interest at a

rate of 0.33% monthly, amounting to total interest payments of $1,867.28 for the Compensation

Period.

          E.     Supplement to the Plan of Distribution

          37.    Prior to the Compensation Period, on July 12, 2018, the Receiver filed his Motion

for Entry of an Order Approving and Authorizing the Receiver’s Proposed (i) Pooling Assets and

Liabilities of Receivership Entities (ii) Allowance of Certain Claims, (iii) Plan of Distribution, and

(iv) Related Relief (ECF No. 62, the “Motion for Plan Approval”), which requested that the Court

approve the following: 5

          a. The pooling of assets of the Receivership Entities and the pro rata distribution
             to the holders of Allowed Claims, as discussed in greater detail in Section IV
             of the Motion for Plan Approval;
          b. The application of the legal and equitable principles and “Claims Calculation
             Methodology” applied by the Receiver in evaluating and determining the timely
5
 Copies of the Motion for Plan Approval and its exhibits are available free of charge at
www.jedhorwittreceiver.com.


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             filed Claims, as described in Section V of the Motion for Plan Approval;
       c. The allowance of certain Claims in the amounts proposed by the Receiver as
          set forth in Exhibit A submitted with the Motion for Plan Approval;
       d. The classification and treatment of Allowed Claims as set forth in Section VI.
          A. of the Motion for Plan Approval;
       e. An interim distribution of in Receivership Assets to holders of Allowed Claims
          in accordance with Rising Tide Method (defined and described below) to the
          Creditors and in the amounts as set forth in Exhibit C or such other gross amount
          as determined by the Receiver to be appropriate under the circumstances (the
          “Proposed Interim Distribution”) and Section VI. B-C. of the Motion for Plan
          Approval;
       f. The distribution procedures governing the Proposed Interim Distribution and
          future interim distributions, as set forth in Section VI. D. of the Motion for Plan
          Approval; and,
       g. The establishment of a Reserve Account as provided for in Section VI. E. of
          the Motion for Plan Approval.
       38.      In response to filing the Motion for Plan Approval, the Receiver received: (i) a

limited objection to the Receiver’s calculation of the pre-receivership recovery percentage of

Flatiron Partners, LP (“Flatiron’s Limited Objection”), and (ii) a Claim asserted by a Takashi

Hashimoto who had been timely served with the Notice of Claims Procedure for Asserting Claims,

Bar Date and Proof of Claim Instructions (see ECF No. 24, the “Claims Procedure Order”) and

failed to timely submit a Proof of Claim (the “Late Claim”).

       39.      Flatiron’s Limited Objection asserts that the Receiver overstated the amount of

Flatiron’s capital contributions and the amount of its pre-receivership distributions. Specifically,

Flatiron contends that the Receiver overstated both amounts by $2 million because the Receiver’s

calculations included $2 million that Flatiron sent to Radar on January 15, 2015, and $2 million

that Flatiron withdrew on February 26, 2015. In his calculation of Flatiron’s recovery percentage,

the Receiver included the initial $2 million deposit and $2 million withdrawal, concluding that

Flatiron recovered 43.1% of its investment pre-receivership ($3,057,931 received on account of

$7,100,921 invested). If the initial $2 million deposit and withdrawal are excluded, however,


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Flatiron recovered only 20.74% of its investment pre-receivership ($1,057,931 received on

account of $5,100,921 invested).

       40.      Prior to and during the Compensation Period, Z&Z attorneys investigated the legal

basis and factual assertions related to Flatiron’s Limited Objection and, to date, have not reached

any conclusion. Fortunately, even assuming Flatiron’s Limited Objection correctly calculates

Flatiron’s pre-receivership recovery percentage, Flatiron would not be entitled to receive an initial

distribution. As discussed in greater detail in the Motion for Plan Approval, only Claimants who

recovered less than 20.1% of their pre-receivership investment could be entitled to an initial

distribution under the Rising Tide Method (assuming a distribution of $3,100,000 - the maximum

distribution authorized), and Flatiron’s own proposed calculation puts its pre-receivership

recovery at 20.7%.

       41.      In order to avoid any further delay in making distributions to the other Claimants,

Flatiron and the Receiver agreed that Flatiron’s right to dispute its pre-receivership recovery

percentage calculation would be preserved as timely, and that the Receiver will hold any amounts

to which Flatiron might be entitled from subsequent distributions, based upon a pre-receivership

recovery percentage of 20.74%, until the Limited Objection is determined by agreement or

adjudication.

       42.      During the Compensation Period, Z&Z attorneys similarly reviewed the Late Claim

asserted by Hashimoto. Pursuant to the Claims Procedure Order, the applicable bar date for the

Late Claim was set for 5:00 p.m. on September 27, 2018. Paragraph 5 of the Claims Procedure

Order provides:

       Any Creditor who fails to deliver a Proof of Claim to the Receiver fully in
       accordance with this Claims Procedure Order and the Notice of Claims Procedure,
       including, but not limited to, on or before the Bar Date, shall be barred and
       precluded from receiving any distribution from the Receiver in this receivership

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        proceeding unless and until all timely filed and allowed Claims and all expenses of
        administering the receivership estate have been paid in full.

        43.     In compliance with the Claims Procedure Order, Z&Z attorneys served Hashimoto

with Notice of Claims Procedure for Asset Claims, Bar Date, Proof of Claim Instruction, and the

form of the Proof of Claim by first class U.S. mail on August 3, 2017. (See ECF No. 36, Cert. of

Serv. re: Claims Procedure Order). Despite receiving such service, Hashimoto has not since

submitted the completed Proof of Claim form or sought from the Court any relief from the Claims

Procedure Order.

        44.     Accordingly, the Receiver has determined that Hashimoto’s Claim is barred

pursuant to the Claims Procedure Order.

        45.     On October 4, 2018, the Court entered its order authorizing and approving the relief

sought in the Motion for Plan Approval. (ECF No. 69, the “Plan Approval Order”).

        46.     On October 5, 2018, Z&Z attorneys filed a supplement to the Motion for Plan

Approval in order to inform the Court of the issues related to Flatiron’s Limited Objection and the

Late Claim. (ECF No. 70, the “Supplement”). The Supplement represented to the Court that neither

of these developments required a modification to the relief granted by the Plan Approval Order

other than the substitution of the Exhibit C (the “Proposed Interim Distribution”) of the Plan

Approval Order with Exhibit A of the Supplement (the “Amended Proposed Interim Distribution”)

to reflect the reservation of rights pertaining to Flatiron.

        47.     On October 9, 2018, the Court approved the requested substitution of the Proposed

Interim Distribution with the Amended Proposed Interim Distribution without otherwise

modifying the relief granted by the Plan Approval Order. (ECF No. 71.)

        F.      Claims Administration and Initial Distribution

        48.     As set forth in the Court’s Plan Approval Order, the Receiver was authorized to


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distribute a maximum of $3,100,000 from the cash available in the Receivership Account to the

holders of Allowed Claims in accordance with the Rising Tide Method of distribution.

       49.     As contemplated in paragraph 8(xi) of the Plan Approval Order, the Receiver, in

the exercise of his reasonable judgment and considering the need to fund the ongoing

administrative expenses of the Receivership Estate (including the ongoing litigation of its causes

of action and liquidation of its other assets), determined that amount to be distributed should be

$2,900,000 (the “Initial Distribution”).

       50.     Before making the Initial Distribution, the Plan Approval Order required the

satisfaction of two conditions: first, the Reserve Account had to be funded with sufficient reserves

“to ensure that if a Remaining Disputed Claim is Allowed, the Receiver shall have funds left to

pay such Allowed Claim in the amount provided for in the Plan of Distribution for such category

of Claimant”, see Plan Approval Order § 8(xi); and, second, each holder of an Allowed Claim had

to submit to the Receiver “either a completed W-9 form, if the holder is treated as a United States

entity or citizen by the Internal Revenue Service, or W-8 form, if the holder is treated as a non-

U.S. entity or citizen by the Internal Revenue Service”, see Plan Approval Order § 8(vii).




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       51.     Accordingly, during the Compensation Period, consistent with the treatment of

“Remaining Disputed Claims” set forth in Exhibit B to the Plan Approval Order, the Receiver

deposited the following amounts into the Reserve Account:

     Remaining                                   Source                           Amount
      Disputed                                                                    Reserved
      Claimant
 Potential Tax                                            Receivership Account    $10,000.00
 Claims
 Advanced                                Share of Initial Distribution if Allowed $518,329.15
 Entertainment, LLC
 N. Fortino                               Share of Initial Distribution if Allowed $238,305.87
 ICBC                     Share of Initial Distribution if Allowed in the Amount $34,730.00
                          of $6,652.69; Balance Reserved in Case Allowed as a
                                                 Secured Claim in the Amount of
                            $28,077.31. Transferred from Receivership Account
 TOTAL                                                                             $801,365.01
     52.       In conjunction with establishing and funding the Reserve Account, the Receiver

contacted each holder of an Allowed Claim to inform them the terms of the Plan Approval Order

and to collect the required tax documentation.




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       53.     On November 27, 2018, the Receiver issued checks from to each holder of an

Allowed Claim, in the amount set forth below:

                      Allowed Claim Holder                             Amount Distributed
 B. McLaughlin                                                             $       19,155.44
 C. Ferrante                                                               $       95,777.22
 Dartley Grandchildren, LLC                                                $      176,230.08
 GRTD, LLC                                                                 $      957,772.20
 Recovery Fund I, LLC                                                      $       95,777.22
 S. Banerjee                                                               $       19,155.44
 T. Deutsch                                                                $      191,554.44
 Abacus Group, LLC                                                         $        9,403.74
 Anchor Associates Group, Inc.                                             $       13,843.18
 Cogent Communications, Inc.                                               $          936.25
 Greybox Creative                                                          $        7,805.84
 K. Agoglia                                                                $      473,170.05
 T. Milana                                                                 $       38,959.52
 TAM Industries, LLC                                                       $       12,043.17
 D. Foley and B. Long                                                      $       25,128.51
 TOTAL                                                                     $    2,136,712.30

       54.     As of the filing of this Application, each holder of an Allowed Claim listed above

had received and deposited their Initial Distribution check.

       55.     Accordingly, the Receiver has completed his Initial Distribution, bringing to pre-

receivership recovery of all holders of Allowed Claims to 19.1% as calculated under the Rising

Tide Method of distribution.

       56.     During the Compensation Period, Z&Z attorneys further investigated the

Receivership Estate’s basis for objecting to the Remaining Disputed Claims. In consultation with

the Commission, the Receiver hopes to resolve some, if not all, of the Remaining Disputed Claims

early in the 2019 calendar year.

       G.      Litigation - TAM Action

       57.     During the Compensation Period, the Receiver and Z&Z continued to prosecute


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their lawsuit, Jed Horwitt Esq., Receiver v. Taran Asset Management, LLC et al., (Civil Action

No.: 3:17-cv-01840-KAD) (the “TAM Action”), against Taran Asset Management, LLC

(“TAM”), Christopher Gleason (“Gleason” and, together with TAM, the “TAM Defendants”), and

Baseline Advisors, LLC (“Baseline” and, together with the TAM Defendants, the “Original TAM

Defendants”) in the United States District Court for the District of Connecticut.

       58.     The TAM Action originally sought to recover pursuant to the Connecticut Uniform

Fraudulent Transfer Act, Conn. Gen. Stat. §§ 52-552 et seq. (“CUFTA”), approximately $1.2

million that Varacchi caused Sentinel to pay allegedly to or for the benefit of the Original TAM

Defendants.

       59.     Prior to the Compensation Period, Z&Z attorneys uncovered evidence that

appeared to show that Varacchi had caused Sentinel to pay certain debts incurred by TAM prior

to Sentinel’s existence and at a time when Varacchi was TAM’s Chief Operating Officer. In total,

from October 15, 2013, through November 30, 2016, Varacchi, in furtherance of his Ponzi scheme,

apparently used assets of the Receivership Entities or caused Sentinel to make a series of transfers

to such creditors of TAM for the benefit of the TAM Defendants in the aggregate amount of

$390,279.88 (the “TAM Debt Transfers”). In the course of settlement negotiations, the TAM

Defendants produced substantial financial records to Z&Z attorneys in an effort to demonstrate

that collection of a judgment against these parties was unlikely and impractical. This production

included bank records which demonstrated how the proceeds of the settlement payment Varacchi

had caused Sentinel to pay to TAM were disbursed. Z&Z attorneys traced approximately $730,000

of the settlement payment proceeds (the “Subsequent Transfers”) to just three parties – Edmond

Tschan, Robin Taxman, and Myron Taxman (together, the “Subsequent Transferee Defendants”)

– each of whom the Receiver has reason to believe did not receive the Subsequent Transfers in



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good faith.

       60.     Accordingly, prior to the Compensation Period, on June 15, 2018, Z&Z attorneys

filed a motion to amend the complaint to (i) to add allegations to existing causes of action to

recover an additional $390,279.88 in TAM Debt Transfers, and (ii) to assert a new cause of action

against and to join the Subsequent Transferee Defendants as defendants based on their status as

subsequent transferees pursuant to CUFTA §§ 52-552(b)(i) and (h)(a)(i) (ECF No. 40, the “Motion

to Amend”). In total, the Motion to Amend and the attached third amended complaint (“Third

Amended Complaint”) increased the total amount claimed in the TAM Action to $1,860,029.

       61.     On July 26, 2018, the Court entered its order granting the relief requested in the

Motion to Amend (ECF No. 45). On August 1, 2018, Z&Z attorneys filed the Third Amended

Complaint (ECF No. 47), and on August 2, 2018, the Court issued its summons on the Subsequent

Transferee Defendants.

       62.     Prior to the Compensation Period, on September 7, 2018, Z&Z attorneys met with

Gleason and local counsel for the TAM Defendants to discuss the possibility of a global settlement.

At the September 7 meeting, Gleason informed Z&Z attorneys that the Third Amended Complaint

misidentified Gleason’s wife (one of the Subsequent Transferee Defendants) as Rachael Taxman,

instead of using her correct name, Robin Taxman. Gleason also explained how the alleged TAM

Debt Transfers had not been on account of any goods or services provided for the benefit of the

TAM Defendants. Instead, according to Gleason, they constitute another fraud by Varacchi upon

Sentinel and the Relief Defendants, as well as the TAM Defendants.

       63.     On September 12, 2018, Z&Z attorneys amended the Third Amended Complaint

solely to correct the name of the defendant, as Robin Taxman. (ECF No. 52, the “Fourth Amended

Complaint”). Shortly thereafter, local counsel to the TAM Defendants filed a motion to withdraw.



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(ECF No. 54.)

        64.     On September 13, 2018, the Court issued an updated summons on the Subsequent

Transferee Defendants (ECF No. 53) which Z&Z attorneys successfully served on Robin Taxman

and Edmond Tschan later that day. (See ECF Nos. 56-57.)

        65.     Prior to the Compensation Period, despite making multiple attempts, Z&Z attorneys

were initially unsuccessful in serving the remaining Subsequent Transferee Defendant, Myron

Taxman. During the Compensation Period, Z&Z attorney’s investigation revealed that Myron

Taxman had sold his Illinois residence in August 2018 and was living in Florida. Ultimately, Z&Z

attorneys caused Myron Taxman to be served at his Florida residence on October 30, 2018. (ECF

No. 67.)

        66.     On November 8, 2018, the Court granted local counsel to the TAM Defendants’

pending motion to withdraw (ECF No. 54), leaving TAM and Gleason unrepresented by counsel.

(ECF No. 70.)

        67.     Counsel for Edmond Tschan filed an appearance on November 8, 2018 (ECF No.

72), and filed an answer to the Fourth Amended Complaint on November 16, 2018 (ECF No. 73.)

        68.     Gleason filed a pro se appearance on October 31, 2018 (ECF No. 65), and used his

e-filing account to file an answer to the Fourth Amended Complaint on behalf of Robin Taxman

on December 6, 2018. (ECF No. 74.) 6


6
  After the Compensation Period, but before the filing of this Application, Z&Z attorneys filed a “Motion
for Order Requiring Robin Taxman to File a Pro Se Appearance” (ECF No. 79), which the Court granted,
stating:
         Ms. Taxman filed an answer on her own behalf, though utilized the e-filing privileges of
         Mr. Gleason to do so. Mr. Gleason shall not use his e-filing privileges to submit pleadings
         on anyone’s behalf except his own. Ms. Taxman is Ordered to file a Notice of Appearance
         pursuant to Local Rule 5(b) so that she will receive all pleadings, notices, and notifications.
         Rule 5(b) requires that the appearance include name, address, zip code, telephone number,
         fax number, and email address, if available.
ECF No. 80.
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       69.     During the Compensation Period, Z&Z attorneys negotiated with Gleason and

counsel for Edmond Tschan to attempt to resolve the Receivership Estate’s claims as stated in the

Fourth Amended Complaint.

       70.     Z&Z efforts to settle the TAM Action have resulted in some progress. That being

said, the Receiver is not in a position at this time to report one the specifics of the settlement

negotiations. If and when the Receiver is in a position to report the terms of a settlement, Z&Z

attorneys will file a motion to approve settlement with the Court.

       H.      Litigation – Sarroff Action

       71.     During the Compensation Period, the Receiver and Z&Z continued to prosecute

their lawsuit, Jed Horwitt Esq., Receiver v. Alan Sarroff et al., (Civil Action No.: 3:17-cv-01902-

VAB) (the “Sarroff Action”) against Alan L. Sarroff (“Sarroff”) and A.L. Sarroff Management,

LLC (“Sarroff Management”, and together with Sarroff, the “Original Sarroff Defendants”), in the

United States District Court for the District of Connecticut. As set forth below, during the

Compensation Period, the Receiver also added the A.L. Sarroff Fund, LLC (the “Sarroff Fund”,

and together with the Original Sarroff Defendants, the “Sarroff Defendants”) as an additional

defendant.

       72.     The Sarroff Action seeks to recover pursuant to CUFTA over $14 million that

Varacchi caused Sentinel to pay to or for the benefit of the Sarroff Defendants (the “Sarroff

Transfers”).

       73.     The Sarroff Transfers sought to be avoided as fraudulent transfers consist in: (i) the

$7.3 million three-day loan repayment on a loan originally made to cover a day trading margin

call; (ii) the recovery of the $125,000 “fee” for that loan and the additional $25,000 “kicker”; and

(iii) the recovery of the “investment” related transfers totaling in excess of $7.7 million.

                 a. Discovery Related to the Sarroff Action
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       74.     Prior to the Compensation Period, on May 11, 2018, the Receiver served the

Original Sarroff Defendants with his first set of Interrogatories and Requests for Production (the

“Receiver’s Discovery Requests”). Z&Z attorneys negotiated with counsel to the Original Sarroff

Defendants to resolve any objections they may have to the Receiver’s Discovery Requests and to

ensure the Original Sarroff Defendants’ timely compliance with their obligations under the Federal

Rules of Civil Procedure. As a result of Z&Z’s efforts, on July 13, 2018, the Original Sarroff

Defendants partially complied with the Receiver’s Discovery Requests and produced over 18,000

pages of responsive documents and communications (the “July 13 Documents”). Prior to and

during the Compensation Period, Z&Z attorneys engaged in an extensive review of the July 13

Documents in order to develop further the documentary record necessary to satisfy the Receiver’s

burden of proof in the Sarroff Action and rebut the Sarroff Defendants’ affirmative defenses.

       75.     Prior to the Compensation Period, on August 7, 2018, the Original Sarroff

Defendants served the Receiver with their first set of Interrogatories and Requests for Production

(the “Original Sarroff Defendants’ Discovery Requests”). During the Compensation Period, Z&Z

attorneys negotiated with counsel to the Original Sarroff Defendants to resolve the Receiver’s

objections to the scope of the Original Sarroff Defendants’ Discovery Requests. After resolving

the Receiver’s objections, which included an agreement on search terms to be applied to the

Receiver’s electronically stored information (“ESI”), Z&Z attorneys reviewed the Receivership

Estate’s records (including ESI containing agreed upon search terms) for documents responsive to

the Original Sarroff Defendants’ Discovery Requests, and provided such documents to the Original

Sarroff Defendants in compliance with the Federal Rules of Civil Procedure.

       76.     Due to the volume of data the Receiver possesses, the Receiver’s attorneys were

required to expend a substantial amount of time reviewing potentially responsive materials (even



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after applying search terms to ESI). The Receiver substantially narrowed by agreement the scope

of the search terms requested by the Original Sarroff Defendants (and the volume of the documents

triggered by those terms), but the results remained voluminous. The Receiver ultimately agreed

to review the results of a negotiated set of search terms (and produce responsive documents), rather

than burden the Court with motion practice related thereto, which ultimately would have delayed

the Sarroff Action and at best would have only partially narrowed the discovery burden on the

Receiver. To date, the Receiver has produced approximately 175,000 pages of documents to the

Sarroff Defendants, which the Receiver believes substantially completed his production

obligations in connection with the Sarroff Action.

       77.     Prior to the Compensation Period, on August 31, 2018, Z&Z attorneys had served

subpoenas out of this SEC Enforcement Action on Sarroff Management and the Sarroff Fund

seeking (i) documents sufficient to show their legal relationship; and (ii) documents identifying all

transfers between Sarroff Management and the Sarroff Fund that in any way concern investments

into the Receivership Defendants and the transfer or subsequent transfer of funds received from

the Receivership Defendants (the “August 31 Subpoenas”). The Receiver served these subpoenas

out of this action rather than the Sarroff Action after the Original Sarroff Defendants objected

asserting that the information requested was not discoverable in the Sarroff Action.

       78.     During the Compensation Period, on October 12, 2018, Sarroff Management and

Sarroff Fund responded by stating that they would not comply with the August 31 Subpoenas by

providing documents responsive to the Receiver’s requests. On November 1, 2018, Z&Z attorneys

and counsel for Sarroff Management and the Sarroff Fund engaged in a telephonic conference to

meet and confer regarding the Subpoenas and the Objection thereto. During that conference, Z&Z

attorneys indicated that the Receiver would likely accept documents sufficient to evidence (i)



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transfers between Sarroff Management and the Sarroff Fund that relate to investments in or

transfers from the Receivership Defendants (subject to an agreement regarding how the

relationship between transfers and the Receivership Defendants would be determined); and (ii) the

relationship between Sarroff Management and the Sarroff Fund as it concerns transfers to or from,

or their relationship with, the Receivership Defendants. Sarroff Management and the Sarroff Fund

communicated their outright refusal to provide any statements identifying transfers beyond the

heavily redacted statements that Sarroff Management already provided (which are limited to

Sarroff Management’s direct transfers to, and receipts from, the Receivership Defendants). They

further indicated that they would discuss internally the Receiver’s request concerning the legal

relationship between Sarroff Management and the Sarroff Fund, but failed to follow up with Z&Z

attorneys regarding this request.

       79.     Accordingly, the Receiver filed a Motion to Compel Sarroff Management and

Sarroff Fund to comply with the August 31 Subpoenas (narrowed as set forth therein), together

with supporting memorandum of law and affidavit, on the above-captioned docket. (See Case No.

17-cv-155 (KAD), ECF Nos. 77-79, together, the “Motion to Compel”.) On November 26, 2018,

Sarroff Management and Sarroff Fund filed a memorandum in opposition to the Receiver’s Motion

to Compel. (Id., ECF No. 80.) On December 7, 2018, Z&Z attorneys filed the Receiver’s response

to Sarroff Management’s memorandum in opposition. (Id., ECF No. 82.) After the Compensation

Period, but prior to filing this Application, Judge Dooley granted the Motion to Compel in its

entirety on January 30, 2019. (ECF No. 84).




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                 b. Motion Practice Related to the Sarroff Action

       80.     Prior to the Compensation Period, the Receiver engaged in significant motion

practice relating to the Original Sarroff Defendants’ challenge to the legal sufficiency of the

Receiver’s first amended Complaint filed in the Sarroff Action. (See Sarroff Action, ECF Nos. 25,

31, 41, and 45). Generally speaking, the issues briefed in the Motion to Dismiss and related filings

fall into two categories: (i) whether a plaintiff seeking to avoid a fraudulent transfer under § 52-

552e(a)(1) of CUFTA must plead that the transferee received the voidable transfer with fraudulent

intent, and (ii) whether, under §§ 52-552e(a)(2) and 52-552(f)(a) of CUFTA, a debtor’s return of

a transferee’s investment principal is sufficient to establish the transfer was made for “value” and

is, therefore, unavoidable as a matter of law.

       81.     During the Compensation Period, Z&Z attorneys drafted and, on October 26, 2018,

filed a motion to amend the first amended complaint to add the Sarroff Fund as a defendant in the

Sarroff Action. (ECF No. 52, the “Motion to Amend and Join”). The Sarroff Defendants initially

withheld their consent to the Motion to Amend and Join, but never filed an objection to it.

       82.     At the December 4, 2018 status conference, the Court granted the Motion to Amend

and Join (ECF No. 59) (after the Sarroff Defendants for the first time agreed to consent to it),

denied the Sarroff Defendants’ Motion to Dismiss as moot in light of the Motion to Amend and

Join being granted (ECF No. 60), continued the discovery deadline for the parties without a date,

and required the parties to submit a revised scheduling order by January 25, 2019 (which was two

weeks after the date of the second of two settlement conferences between the Receiver and the

Original Sarroff Defendants, as more fully set forth below). (ECF No. 61).

       83.     Z&Z attorneys filed the Seconded Amended Complaint immediately after the

December 4, 2018 status conference. (ECF No. 62.)



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       84.      On December 13, 2018, Z&Z attorneys and the Sarroff Defendants filed a proposed

stipulation regarding the Sarroff Defendants acceptance of service of the Second Amended

Complaint and setting January 4, 2019 as the deadline for the Sarroff Defendants’ response thereto.

(ECF No. 64.)

       85.      After the Compensation Period, but before the filing of this Application, the Sarroff

Defendants filed their Motion to Transfer Matter to the United States District Court for the

Southern District of New York and to Dismiss the Second Amended Complaint (the “Motion to

Transfer/Dismiss”), together with memorandum of law and supporting affidavits (ECF Nos. 68-

70). The Receiver timely objected to the Motion to Transfer/Dismiss on January 25, 2019.

       86.      During the Compensation Period, Z&Z attorneys drafted and, on December 14,

2018, filed an application for prejudgment remedy (ECF No. 65, the “PJR Application”) and a

Motion for Disclosure of Assets (ECF No. 66, the “Motion for Disclosure”) against the Sarroff

Defendants. The PJR Application seeks a court order attaching property of the Sarroff Defendants

in an amount sufficient to satisfy the entry of a $7,744,109.23 judgment ($7,306,768.57 against

Sarroff Management and Sarroff Fund, and $437,340.66 against Sarroff, individually).

                 c. Settlement Prospects of the Sarroff Action

       87.      During the Compensation Period, Z&Z attorneys prepared and, on October 11,

2018, filed under seal an offer of compromise on behalf of the Receiver. (ECF No. 50.) Pursuant

to Conn. Gen. Stat. § 52-192, if an offer of compromise is not accepted within 30 days and the

plaintiff ultimately obtains a judgment in an amount equal or greater than the offered amount, then

the court shall add 8% annual interest to the amount awarded beginning, in this case, from the date

the original complaint was filed. The Receiver’s offer of compromise was not accepted within 30

days. Therefore, if the Receiver obtains a judgment equal to or greater than the offer, the Receiver



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will be entitled to additional interest accruing at 8% per annum from the date of the Receiver’s

complaint.

       88.     Prior to and during the Compensation Period, Z&Z attorneys diligently pursued the

prospect of settling the claims asserted in the Sarroff Action with the Sarroff Defendants. To that

end, the parties agreed to participate in a confidential settlement conference (the “Settlement

Conference”) with United States’ Magistrate Judge Robert Richardson. The first Settlement

Conference was held on September 27, 2018. The parties did not reach a settlement at the

Settlement Conference. However, the parties agreed to participate in a second settlement

conference to be held on January 11, 2019.

       89.     After the Compensation Period, but before the filing of this Application, Z&Z

attorneys attended the continued settlement conference on January 11, 2019. The parties were once

again unable to reach a settlement. No further settlement conferences are contemplated at this time.

       I.      Further Investigation into and Demand upon Weeden Prime Services, LLC
               and Related Persons

       90.     During the Compensation Period, the Receiver and Z&Z attorneys continued their

investigation into and development of potential causes of action against Weeden Prime Services,

LLC (“Weeden Prime”) and related persons.

       91.     During the Compensation Period, Z&Z attorneys drafted a proposed statement of

claim asserting the Receivership Estate’s claim for damages against Weeden Prime, Weeden &

Co., LP (“Weeden Co.”, referred to collectively along with Weeden Prime as “Weeden”), and two

registered representatives of Weeden Prime, Sohail Khalid aka Syed Mahmoud Khalid (“Khalid”)

and Christopher LaGrego (“LaGrego”, referred to collectively along with Weeden and Khalid as

“Weeden Respondents”).

       92.     Also during the Compensation Period, Z&Z attorneys drafted a motion for leave to


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commence arbitration against the Weeden Respondents, which, on or about November 21, 2018,

Z&Z attorneys circulated to counsel for Weeden.

        93.       After discussions concerning potential claims, the Receiver agreed to delay filing

the motion for leave to commence arbitration against the Weeden Respondents until the parties

had an opportunity to discuss them in more detail (including discussing the prospect of settlement).

        94.       Z&Z attorneys negotiated and memorialized the terms of a tolling agreement with

the Weeden Respondents to preserve the Receivership Estate’s claims during the parties’

discussions.

        95.       The tolling agreement currently expires on February 25, 2019 and may be further

extended if the Receiver and the Weeden Respondents determine that further discussions would

be productive.

        96.       The Receiver is not in a position at this time to report on the prospect of settling the

Estate’s claims against the Weeden Respondents or to predict the extent of any recovery as a result

of arbitration.

        97.       In the event the Receiver determines arbitration against the Weeden Respondents

is in the best interest of the Receivership Estate, the Receiver will move for leave to commence

arbitration.

        J.        Investigation into and Demand upon Ralph Giorgio

        98.       During the Compensation Period, Z&Z attorneys continued their investigation into

potential causes of action against Ralph Giorgio (“Giorgio”).

        99.       Giorgio became a manager on the Sentinel platform and was added to Sentinel’s

payroll in December 2015. From December 2015 to May 2016, Giorgio received a gross monthly

salary of $2,058.34 from Sentinel. In June 2016, at Giorgio’s request, Varacchi caused Sentinel to

increase Giorgio’s gross monthly salary to $20,000. From June 2016 until the collapse of
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Varacchi’s Ponzi scheme, Giorgio received more than $120,000 from Sentinel (the “Giorgio

Transfers”).

       100.    Upon information and belief, Sentinel did not receive any valued in exchange for

the Giorgio Transfers. The Giorgio Transfers were not a draw upon incentive-based payments as

Giorgio did not manage sufficient assets on the Sentinel platform to justify the amount received.

Rather, upon information and belief, the Giorgio Transfers were made with the expectation that

the money would be repaid either to Sentinel or Varacchi.

       101.    Prior to the Compensation Period, Z&Z attorneys served Giorgio with a settlement

offer. Giorgio allowed the offer to lapse by failing to respond within the provided time period.

However, after the offer lapsed, Z&Z attorneys were contacted by an attorney for Giorgio.

       102.    During the Compensation Period, Z&Z attorneys met with Giorgio’s attorney to

discuss settlement of the Receiver’s claims against Giorgio. During these meetings, it became clear

that Giorgio’s prior agreement to meet in person during October or November 2018 to discuss

settlement was unlikely to actually occur. Z&Z attorneys intend to consult with the Commission

in order to determine the appropriate next step.

       103.    The Receiver’s investigation of these and other claims against Giorgio is ongoing.

The Receiver is not in a position at this time to report on such claims or predict the likelihood or

extent of any recovery. In the event that the Receiver determines that it is in the best interest of the

Receivership Estate, the Receiver will move to for leave to sue Giorgio prior to commencing

litigation against it or take such other action as the Receiver determines appropriate and in the best

interest of the Receivership Estate under the circumstances.




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       K.      Investigation of Private Investments

       104.    During the Compensation Period, the Receiver continued to investigate the Private

Investments. The Receiver has researched and analyzed numerous entities that identified as

potentially constituting Private Investments which the Receiver may recover for the benefit of the

Receivership Estate.

       105.    After reviewing the records of the Receivership Estate, as well as the documents

produced pursuant to the Receiver’s requests, the Receiver has preliminarily determined that the

investments in Zipway LLC, Gravy, Inc., Invigilio, LLC, and Greenhouse Solutions, Inc. are

unlikely to provide any value to the Estate. Comparatively, the Receiver has not yet determined if

the value realized by liquidating the Receivership Estate’s interests in Kizzang, Entourage, Roots,

and StereoCast would justify the costs of doing so.

       106.    The Receiver has engaged in the process of determining how to liquidate the

Receivership Estate’s interest in Kizzang, Entourage, Roots, and StereoCast in such a way as to

maximize the value available for distribution to Claimants.

       107.    At the same time, the Receiver and Z&Z attorneys are evaluating potential

fraudulent transfer and other causes of action against the companies underlying the Private

Investments.

       108.    During the Compensation Period, Z&Z attorneys investigated the prospect of

liquidating the Receivership Estate’s rights under pending class-action securities lawsuits. The

Receivership Entities generated a disproportionately high volume of trades considering their

assets. These trades may entitle the Receivership Entities to recover as a class member from certain

class-action securities lawsuits.

       109.    Because class-action securities lawsuits take approximately four to seven years to

generate proceeds, claims liquidators are often engaged either to administer the process in
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exchange for a percentage of the proceeds, or to liquidate the class-action claims portfolio by

offering its approximate present value.

       110.    Z&Z attorneys entered into non-disclosure agreements with two class-action claims

liquidating companies and provided each with the trading data necessary to evaluate the

Receivership Estate’s claims portfolio. As of the filing of this Application, the claims liquidators’

analysis is not complete.

       111.    In the event that the Receiver determines it is in the best interest of the Receivership

Estate to sell the class-action claims portfolio, he will file a motion for authority to do so with the

Court. Alternatively, if the class-action claims portfolio is of de minimis value to a liquidator, the

Receiver may evaluate the costs and benefits of engaging Z&Z staff to oversee the administrative

task of filing the class-action claims independently.




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        L.     Actual and Anticipated Disbursement of Assets

        112.   During the Compensation Period but before the filing of this Application, in

accordance with the Court’s Order Approving the Receiver’s Fifth Interim Application for

Professional Fees and Expenses (ECF No. 68) and the Court’s Order Approving the Receiver’s

Sixth Interim Application for Professional Fees and Expenses (ECF No. 81), the Receiver made

the following distributions:

 Date                 Recipient         Amount             Reason              Authority

 October 5, 2018      Z&Z               $145,216.6080% of Fees and Order
                                                   100% of              Approving Fifth
                                                   Expenses from        Interim Fee
                                                   April 1, 2018 to Application
                                                   June 30, 2018        (ECF No. 68)
 November 27,   Z&Z              $177,226.80       80% of Fees and Order
 2018                                              100% of              Approving Sixth
                                                   Expenses from        Interim Fee
                                                   July 1, 2018 to      Application
                                                   September 30,        (ECF No. 81)
                                                   2018
 November 27,   V&L              $83,686.00        80% of Fees and Order
 2018                                              100% of              Approving Sixth
                                                   Expenses from        Interim Fee
                                                   January 1, 2018 Application
                                                   to September 30, (ECF No. 81)
                                                   2018
      113. The Receiver, V&L, and Z&Z have incurred fees for their services and Z&Z have

advanced all necessary expenses, which are requested for reimbursement through this Application.

(See Exs. C and F.)

        114.   Provided that the Court awards the fees and expenses requested in this Application,

appropriate disbursements will be reflected on the Receiver’s next interim fee application filed

after such award.

        115.   As discussed in Section IV-F above, the Receiver made an Initial Distribution of

$2,136,712.30 to the holders of Allowed Claims, bringing the total pre-receivership recover of all

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holders of Allowed Claims to 19.1% as calculated under the Rising Tide Method of distribution.

        116.   The Receiver holds cash on hand the Receivership Account and the Reserve

Account. As of December 31, 2018, the balance of the Receivership Account is $226,278.96, and

the balance of the Reserve Account is 801,365.01. The total cash on hand in the Receivership

Account and the Reserve Account is $1,067,643.97.

        M.     Anticipated Closure

        117.   At this time, it is premature for the Receiver to speculate as to when this

Receivership Proceeding will be ready to close.

IV.     DESCRIPTION OF ASSETS OF THE RECEIVERSHIP ESTATE

        118.   As of the end of the Compensation Period, the following assets are a part of the

Receivership Estate:

               a.      The Receivership Account, which is valued at $266,278.96;

               b.      The Reserve Account, which is valued at $801,365.01;

               c.      The Private Investments, which value the Receiver is presently
                       investigating; and

               d.      Any and all causes of action to recover money and possibly other assets for
                       the benefit of the Receivership Estate, which causes of action the Receiver
                       is presently investigating and evaluating, including, but not limited to, the
                       claims against the TAM Defendants, the Sarroff Defendants, the Rajo
                       Defendants, Kostiner, Weeden Prime, Kizzang, Entourage, and Giorgio.

        119.   With respect to the Private Investments, the Receiver has identified the following

securities:

               a.      Kizzang: 3,600,000 Class C shares, 5,400,000 Class D shares, and
                       1,152,666 Class E evidenced by certificates identifying Varacchi as the
                       owner of such interest;

               b.      Greenhouse: 250,000 shares, evidenced by a certificate identifying
                       Varacchi as the owner of such interest; and



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                c.     StereoCast: 150,000 shares in the name of Varacchi, evidenced by a
                       certificate identifying Varacchi as the owner of such interest.

        120.    The Receiver is investigating how best to liquidate and maximize the value of these

equity interests in Kizzang, Entourage, Roots, and StereoCast.

V.      THE COURT SHOULD AWARD THE REQUESTED FEES AND EXPENSES

        A. The Governing Legal Standard

        121.    The District Court has the power to appoint a receiver and to award the receiver

fees for his services and for expenses incurred by the Receiver in the performance of his duties.

See Donovan v. Robbins, 588 F. Supp. 1268, 1272 (N.D. Ill. 1984) (“[T]he receiver diligently and

successfully discharged the responsibilities placed upon him by the Court and is entitled to

reasonable compensation for his efforts.”); see also Securities & Exchange Comm’n v. Elliott, 953

F. Supp. 1560 (11th Cir. 1992) (receiver is entitled to compensation for faithful performance of

his duties.).

        122.    The District Court has discretion to determine compensation to be awarded to a

court-appointed equity receiver and his counsel and “may consider all of the factors involved in a

particular receivership in determining the appropriate fee.” Gaskill v. Gordon, 27 F.3d 248, 253

(7th Cir. 1994).

        123.    The case law and other authority may provide “convenient guidelines,” but

ultimately “the unique fact situation renders direct reliance on precedent impossible.” Securities

& Exchange Comm’n v. W.L. Moody & Co., 374 F. Supp. 465, 480 (S.D. Tex. 1974), aff’d, 519 F.

2d 1087 (5th Cir. 1975).

        124.    In awarding counsel fees in Securities Act receiverships, “[t]he court will consider

... the complexity of problems faced, the benefit to the receivership estate, the quality of work

performed, and the time records presented.” Securities & Exchange Comm’n v. Fifth Ave. Coach


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Lines, Inc., 364 F. Supp. 1220, 1222 (S.D.N.Y. 1973); see also United States v. Code Prods., 362

F.2d 669, 673 (3rd Cir. 1966) (court should consider the time, labor and skill required (but not

necessarily expended), the fair value of such time, labor and skill, the degree of activity, the

dispatch with which the work is conducted and the result obtained).

       125.    While “results are always relevant,” a good result may take a form other than a

“bare increase in monetary value.” Securities & Exchange Comm’n v. Elliott, 953 F.2d 1560, 1577

(11th Cir. 1992) (“Even though a receiver may not have increased, or prevented a decrease in, the

value of the collateral, if a receiver reasonably and diligently discharges his duties, he is entitled

to compensation.”). Overall results can be determined only at the conclusion of the Receivership

Proceeding.

       126.    Another “basic consideration is the nature and complexity of the legal problems

confronted and the skill necessary to resolve them.” Moody, 374 F. Supp. at 485. Moreover, “[t]ime

spent cannot be ignored.” Id. at 483.

       B.      Application of the Governing Legal Standard to the Application

       127.    Based on the foregoing, the Receiver, Z&Z, and V&L respectfully submit that the

services for which they seek compensation in this Application were necessary for, and beneficial

to, the orderly administration of the Receivership Estate.

       128.    As more fully set forth throughout this Application and as detailed in the exhibits

submitted herewith, the issues addressed by the Receiver, Z&Z, and V&L have been and continue

to be highly complex, requiring investigation of an alleged fraud that spanned years, consisted of

many poorly-documented transactions and involved numerous investors, Private Investments and

financial institutions. The Receiver, Z&Z, and V&L have made substantial progress in

investigating the Receivership Estate’s assets and in commencing litigation on behalf of the

Receivership Estate.
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       129.    The Receiver, Z&Z, and V&L respectfully submit that compensation for the

foregoing services as requested is commensurate with the complexity, importance and nature of

the problems, issues or tasks involved. The professional services were performed expediently and

efficiently. Substantial progress has been accomplished during the Compensation Period and since

the Receiver’s appointment May 1, 2017.

       130.    At the same time, the Receiver, Z&Z, and V&L have agreed to considerable public

service discounts, which exceeded even those generous discounts offered in the Receiver’s initial

application.

       131.    Furthermore, the Commission has reviewed this Application and has stated that it

has no objection to the approval of the professional fees and expenses requested herein.

       132.    Accordingly, the Receiver, Z&Z, and V&L submit that the compensation requested

herein is fair, reasonable and warranted in light of the nature, extent and value of such service to

the Receivership Estate and all parties-in-interest.

       C.      Source and Manner of Payment

       133.    The Receivership Estate includes cash held in the Receivership Account. The

Receiver, Z&Z, and V&L request that the Court enter an order allowing and permitting the

approved fees and reimbursed expenses to be paid from the Receivership Account, less the 20%

holdback (applicable only to fees); provided, however, that the Receiver acknowledges that the

Receivership Account presently holds insufficient funds to actually make payment at this time.

The Receiver intends to hold sufficient funds (in his discretion after consultation with the

Commission) for various litigation costs such as experts, depositions, transcripts, etc., as well as

the ordinary operating costs of the receivership. Z&Z and V&L understand and agree to suspend

payment in the amount of their fees and expenses until further deposits have been made and

sufficient funds have been reserved for these anticipated litigation and administrative costs.
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       WHEREFORE, Jed Horwitt, Esq., Receiver, and Zeisler & Zeisler, P.C., counsel to the

Receiver, respectfully request that (i) this Application be granted; (ii) the Receiver and Z&Z be

awarded an allowance of $168,969.60 for legal services rendered during the Compensation Period,

and $26,947.88 for the reimbursement of expenses, subject to a 20% holdback applicable to fees

for services; (iii) V&L be awarded an allowance of $49,166.00 for services rendered during the

Compensation Period, and $0.00 for the reimbursement of expenses, subject to a 20% holdback

applicable to fees for services; and (iv) grant such other and further relief as this Court deems just

and proper.

       Dated at Bridgeport, Connecticut, this 13th day of February, 2019

                                                      Respectfully submitted,

                                                      JED HORWITT, ESQ., RECEIVER


                                                      /s/ Jed Horwitt
                                                      Jed Horwitt, Receiver

                                                     ZEISLER & ZEISLER, P.C.,
                                                     COUNSEL TO RECEIVER
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                                 CERTIFICATE OF SERVICE

       I, Rion M. Vaughan, hereby certify that a copy of foregoing was filed electronically and

served by mail on anyone unable to accept electronic filing. Notice of this filing will be sent by e-

mail to all parties by operation of the Court’s electronic filing system or by mail to anyone unable

to accept electronic filing as indicated on the Notice of Electronic Filing. Parties may access this

filing through the Court’s CM/ECF System and also at http://jedhorwittreceiver.com/.




                                                       / s / Rion M. Vaughan
                                                      Rion M. Vaughan (ct30440)




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